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     Exhibit 4A
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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT




                                                        No. 3:17-cv-01617-VAB

    IN RE FRONTIER COMMUNICATIONS
    CORPORATION STOCKHOLDERS
    LITIGATION




        DECLARATION OF KATHERINE M. SINDERSON IN SUPPORT OF LEAD
     COUNSEL’S MOTION FOR ATTORNEYS’ FEES AND LITIGATION EXPENSES,
     FILED ON BEHALF OF BERNSTEIN LITOWITZ BERGER & GROSSMANN LLP

        I, Katherine M. Sinderson, hereby declare under penalty of perjury as follows:

        1.      I am a partner in the law firm of Bernstein Litowitz Berger & Grossmann LLP

(“Bernstein Litowitz”).1 My firm serves as Lead Counsel for Lead Plaintiffs and the Settlement

Class in the above-captioned action (the “Action”). I submit this declaration in support of Lead

Counsel’s application for an award of attorneys’ fees in connection with services rendered in the

Action, as well as for payment of expenses incurred by my firm in connection with the Action. I

have personal knowledge of the facts stated in this declaration and, if called upon, could and would

testify to these facts.

        2.      My firm, as Court-appointed Lead Counsel in the Action, was involved in all

aspects of the prosecution and resolution of the Action, as set forth in the Declaration of Katherine

M. Sinderson in Support of: (A) Lead Plaintiffs’ Motion for Final Approval of Settlement and Plan


1
  Capitalized terms that are not defined in this declaration have the same meanings as set forth in
the Stipulation and Agreement of Settlement dated December 23, 2021 (ECF No. 192-2) (the
“Stipulation”).
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of Allocation; and (B) Lead Counsel’s Motion for Attorneys’ Fees and Litigation Expenses, filed

herewith.

       3.      The schedule attached hereto as Exhibit 1 is a detailed summary indicating the

amount of time spent by each Bernstein Litowitz attorney and professional support staff employee

involved in this Action who devoted ten (10) or more hours to the Action from its inception through

and including April 1, 2022 and the lodestar calculation for those individuals. The lodestar

calculation for those individuals in Exhibit 1 is based on my firm’s current hourly rates, which are

set in accordance with paragraph 7 below—with two exceptions: Jesse Jensen was promoted to

Partner at Bernstein Litowitz, and Catherine Van Kampen was promoted to Senior Counsel. Both

promotions were effective January 1, 2022— i.e., after the proposed Settlement was reached—so,

for purposes of this lodestar calculation, Mr. Jensen’s hourly rate was kept at his former Senior

Counsel rate and Ms. Van Kampen’s hourly rate was kept at her former Associate rate. For

personnel who are no longer employed by my firm, the lodestar calculation is based upon the

hourly rates for such personnel in his or her final year of employment by my firm. The schedule

was prepared from contemporaneous daily time records regularly prepared and maintained by

Bernstein Litowitz.

       4.      As the partner responsible for supervising my firm’s work on this case, I reviewed

these time and expense records to prepare this declaration. The purpose of this review was to

confirm both the accuracy of the time entries and expenses and the necessity for, and

reasonableness of, the time and expenses committed to the litigation. As a result of this review,

reductions were made in the exercise of counsel’s judgment. In addition, all time expended in

preparing this application for fees and expenses has been excluded.




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       5.       Following this review and the adjustments made, I believe that the time reflected

in the firm’s lodestar calculation and the expenses for which payment is sought as stated in this

declaration are reasonable in amount and were necessary for the effective and efficient prosecution

and resolution of the litigation. In addition, based on my experience in similar litigation, the

expenses are all of a type that would normally be billed to a fee-paying client in the private legal

marketplace.

       6.       The hourly rates for the Bernstein Litowitz attorneys and professional support staff

employees included in Exhibit 1 are the same as, or comparable to, the rates submitted by my firm

and accepted by courts for lodestar cross-checks in other securities class action litigation fee

applications.

       7.       My firm’s rates are set based on periodic analysis of rates used by firms performing

comparable work and that have been approved by courts. Different timekeepers within the same

employment category (e.g., partners, associates, paralegals, etc.) may have different rates based

on a variety of factors, including years of practice, years at the firm, year in the current position

(e.g., years as a partner), relevant experience, relative expertise, and the rates of similarly

experienced peers at our firm or other firms.

       8.       The total number of hours expended on this Action by my firm from its inception

through and including April 1, 2022, is 6,094.00 hours. The total lodestar for my firm for that

period is $3,609,890.00. My firm’s lodestar figures are based upon the firm’s hourly rates, which

do not include costs for expense items.

       9.       None of the attorneys listed in Exhibit 1 to this declaration and included in my

firm’s lodestar for the Action are (or were) “contract attorneys.” All attorneys and employees of

the firm listed in the attached schedule work (or worked) at Bernstein Litowitz’s offices at 1251



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Avenue of the Americas in New York, New York and, like every other attorney and employee of

Bernstein Litowitz, work (or worked) remotely following the onset of the COVID-19 pandemic.

Except for the partners listed in the attached schedule, all of the other attorneys and professional

support staff listed in the schedule are (or were) W-2 employees of the firm and were not

independent contractors issued Form 1099s. Thus, the firm pays FICA and Medicare taxes on their

behalf, along with state and federal unemployment taxes. These employees are (or were) fully

supervised by the firm’s partners and have (or had) access to secretarial, paralegal, and information

technology support. Bernstein Litowitz also assigns a firm email address to each attorney or other

employee it employs, including those listed.

       10.     As detailed in Exhibit 2, my firm is seeking payment for a total of $265,841.85 in

expenses incurred in connection with the prosecution of this Action from its inception through and

including April 1, 2022. The following is additional information regarding certain of the expenses

stated on Exhibit 2 to this declaration:

       (a)     Online Legal and Factual Research ($35,480.39). The charges reflected are for

out-of-pocket payments to the vendors such as Westlaw, Lexis/Nexis, Thomson Reuters, and

PACER for research done in connection with this litigation. These resources were used to obtain

access to court filings, to conduct legal research and cite-checking of briefs, and to obtain factual

information regarding the claims asserted through access to various financial databases and other

factual databases. These expenses represent the actual expenses incurred by Bernstein Litowitz for

use of these services in connection with this litigation. There are no administrative charges

included in these figures. Online research is billed to each case based on actual usage at a charge

set by the vendor. When Bernstein Litowitz utilizes online services provided by a vendor with a

flat-rate contract, access to the service is by a billing code entered for the specific case being



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litigated. At the end of each billing period, Bernstein Litowitz’s costs for such services are

allocated to specific cases based on the percentage of use in connection with that specific case in

the billing period.

       (b)     Experts ($182,323.62). This charge sees reimbursement of amounts paid by

Bernstein Litowitz to the damages and loss causation expert retained by Lead Counsel. Lead

Counsel consulted with the damages expert during their investigation and preparation of the

amended complaints, and consulted further with the damages expert during the settlement

negotiations with Defendants and the development of the proposed Plan of Allocation. Bernstein

Litowitz also seeks reimbursement of the costs associated with the retention of bankruptcy counsel

in this matter. Lead Counsel consulted with an experienced bankruptcy counsel, which was critical

in this case given the uncertainty that Frontier’s complex bankruptcy proceedings added to the

Action. Under Lead Counsel’s supervision, bankruptcy counsel was retained to assist Lead

Counsel in protecting Class members’ rights by, inter alia, monitoring Frontier’s bankruptcy

proceedings; reviewing and monitoring Frontier’s bankruptcy filings, including the Chapter 11

plan and disclosure statement; drafting and filing proofs of claim for the Settlement Class and Lead

Plaintiffs; reviewing Lead Plaintiffs’ bankruptcy-related filings, including a motion to lift the

bankruptcy stay with respect to Defendant McCarthy; reviewing the Settlement papers entered into

in this Action; and generally providing legal advice to Lead Counsel concerning Frontier’s

bankruptcy.

       (c)     Document Management/Litigation Support ($23,985.97). Bernstein Litowitz

seeks $6,808.33 for the costs associated with establishing and maintaining the internal document

database that was used to process and review documents produced in response to Lead Plaintiffs’

requests for government records and documents related to Frontier’s bankruptcy proceedings.



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Bernstein Litowitz requests payment of $4 per gigabyte of data per month and $17 per user to

recover the costs associated with maintaining its document database management system, which

includes the costs to Bernstein Litowitz of necessary software licenses and hardware. The amount

sought includes the costs of maintaining the database through December 23, 2021, the date on

which the parties executed the Stipulation. Bernstein Litowitz has conducted a review of market

rates charged for the similar services performed by third-party document management vendors and

found that its rate was approximately 80% below the market rates charged by these vendors,

resulting in a savings to the Settlement Class. Bernstein Litowitz also requests reimbursement of

$6,555.26 for costs incurred in connection with the production of documents in response to Lead

Plaintiffs’ requests for government records and $10,622.38 for costs associated with the retention

of an outside vendor that assisted with the preparation and filing of Lead Plaintiffs’ appellate briefs

and related submissions.

       (d)     Internal Copying & Printing ($1,448.90). Our firm charges $0.10 per page for in-

house copying and for printing of documents.

       (e)     Working Meals ($1,822.50). Out-of-office meals are capped at $25 per person for

lunch and $50 per person for dinner and in-office working meals are capped at $25 per person for

lunch and $40 per person for dinner.

       11.     The expenses incurred in this Action are reflected in the records of my firm, which

are regularly prepared and maintained in the ordinary course of business. These records are

prepared from expense vouchers, check records, and other source materials and are an accurate

record of the expenses incurred.

       12.     With respect to the standing of my firm, attached hereto as Exhibit 3 is a brief

biography of my firm and the attorneys still employed with the firm and involved in this matter.



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       I declare, under penalty of perjury, that the foregoing facts are true and correct. Executed

on April 5, 2021.

                                                    /s/ Katherine M. Sinderson
                                                      Katherine M. Sinderson




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                                      EXHIBIT 1

         In re Frontier Communications Corporation Stockholders Litigation
                            No. 3:17-cv-01617-VAB

           BERNSTEIN LITOWITZ BERGER & GROSSMANN LLP

                                   TIME REPORT

                      Inception through and including April 1, 2022

             NAME                        HOURS           HOURLY         LODESTAR
                                                          RATE
Partners
Max Berger                                      22.25       $1,300.00    $28,925.00
Michael Blatchley                               16.75         $900.00    $15,075.00
Scott Foglietta                                166.00         $825.00   $136,950.00
Salvatore Graziano                              42.75       $1,150.00    $49,162.50
Avi Josefson                                    68.75       $1,000.00    $68,750.00
Gerald Silk                                     59.00       $1,150.00    $67,850.00
Katherine Sinderson                            763.75         $900.00   $687,375.00

Senior Counsel
Jai Chandrasekhar                             199.25          $800.00   $159,400.00
Jesse Jensen                                1,097.25          $775.00   $850,368.75
John Mills                                    165.25          $775.00   $128,068.75

Associates
Kate Aufses                                    738.00         $525.00   $387,450.00
Catherine Van Kampen                            20.25         $700.00    $14,175.00
Angus Ni                                        70.00         $475.00    $33,250.00

Staff Attorney
Christopher McKniff                             24.00         $350.00     $8,400.00

Financial Analysts
Vincent Alfano                                 145.50         $350.00    $50,925.00
Nick DeFilippis                                 21.00         $625.00    $13,125.00
Matthew McGlade                                 20.00         $400.00     $8,000.00
Sharon Safran                                   12.00         $335.00     $4,020.00
Tanjila Sultana                                 31.00         $425.00    $13,175.00
Adam Weinschel                                  85.75         $550.00    $47,162.50

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              NAME              HOURS          HOURLY      LODESTAR
                                                RATE
Investigators
Chris Altiery                         123.00     $255.00     $31,365.00
Amy Bitkower                           65.00     $575.00     $37,375.00
John Deming                            19.50     $400.00      $7,800.00
Jacob Foster                           15.50     $300.00      $4,650.00
Joelle Landino                        206.00     $425.00     $87,550.00
Cory Pihl                              14.00     $300.00      $4,200.00
Andrew Thompson                       811.75     $400.00    $324,700.00

Litigation Support
Johanna Pitcairn                       25.50     $400.00     $10,200.00

Managing Clerk
Mahiri Buffong                         55.75     $375.00     $20,906.25
Errol Hall                             27.75     $310.00      $8,602.50

Paralegals
Ricia Augusty                          24.00     $335.00      $8,040.00
Jesse Axman                           356.25     $255.00     $90,843.75
Matthew Gluck                         107.50     $350.00     $37,625.00
Janielle Lattimore                     11.75     $350.00      $4,112.50
Matthew Mahady                        229.00     $350.00     $80,150.00
Desiree Morris                        174.25     $350.00     $60,987.50
Preya Rodriguez                        59.00     $325.00     $19,175.00

                     TOTALS:      6,094.00                 $3,609,890.00




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                                EXHIBIT 2

      In re Frontier Communications Corporation Stockholders Litigation
                         No. 3:17-cv-01617-VAB

        BERNSTEIN LITOWITZ BERGER & GROSSMANN LLP

                           EXPENSE REPORT

                Inception through and including April 1, 2022

                   CATEGORY                                     AMOUNT
 Court Fees                                                          $746.00
 Service of Process                                                $1,060.00
 PSLRA Notice                                                        $805.00
 On-Line Legal and Factual Research                               $35,480.39
 Document Management/Litigation Support                           $23,985.97
 Telephone                                                            $66.85
 Postage, Delivery, & Express Mail                                 $2,074.97
 Local Transportation                                              $2,591.16
 Internal Copying/Printing                                         $1,448.90
 Outside Copying                                                  $10,779.54
 Out of Town Travel                                                $1,306.69
 Working Meals                                                     $1,822.50
 Court Reporting & Transcripts                                     $1,350.26
 Experts                                                         $182,323.62

                                TOTAL:                           $265,841.85




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                                EXHIBIT 3

      In re Frontier Communications Corporation Stockholders Litigation
                         No. 3:17-cv-01617-VAB

        BERNSTEIN LITOWITZ BERGER & GROSSMANN LLP

                           FIRM BIOGRAPHY




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Bernstein Litowitz Berger & Grossmann LLP
Attorneys at Law


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Firm Resume



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Firm Resume



Since our founding in 1983, Bernstein Litowitz Berger & Grossmann LLP has obtained many of the largest monetary
recoveries in history—over $33 billion on behalf of investors. Unique among our peers, the firm has obtained the
largest settlements ever agreed to by public companies related to securities fraud, including four of the ten largest
in history. Working with our clients, we have also used the litigation process to achieve precedent-setting reforms
which have increased market transparency, held wrongdoers accountable and improved corporate business
practices in groundbreaking ways.



Firm Overview
Bernstein Litowitz Berger & Grossmann LLP (BLB&G), a national law firm with offices located in New York, California,
Delaware, Louisiana, and Illinois, prosecutes class and private actions on behalf of individual and institutional clients.
The firm’s litigation practice areas include securities class and direct actions in federal and state courts; corporate
governance and shareholder rights litigation, including claims for breach of fiduciary duty and proxy violations;
mergers and acquisitions and transactional litigation; alternative dispute resolution; and distressed debt and
bankruptcy. We also handle, on behalf of major institutional clients and lenders, more general complex commercial
litigation involving allegations of breach of contract, accountants’ liability, breach of fiduciary duty, fraud, and
negligence.
We are the nation’s leading firm representing institutional investors in securities fraud class action litigation. The
firm’s institutional client base includes U.S. public pension funds the New York State Common Retirement Fund; the
California Public Employees’ Retirement System (CalPERS); the            Los Angeles County Employees Retirement
Association (LACERA); the Chicago Municipal, Police and Labor Retirement Systems; the Teacher Retirement System
of Texas; the Arkansas Teacher Retirement System; the Florida State Board of Administration; the Public Employees’
Retirement System of Mississippi; the New York State Teachers’ Retirement System; the Ohio Public Employees
Retirement System; the State Teachers Retirement System of Ohio; the Oregon Public Employees Retirement System;
the Virginia Retirement System; the Louisiana School, State, Teachers and Municipal Police Retirement Systems; the
Public School Teachers’ Pension and Retirement Fund of Chicago; the New Jersey Division of Investment of the
Department of the Treasury; TIAA-CREF and other private institutions; as well as numerous other public and Taft-
Hartley pension entities. Our European client base includes APG; Aegon AM; ATP; Blue Sky Group; Hermes IM;
Robeco; SEB; Handelsbanken; Nykredit; PGB; and PGGM, among others.



More Top Securities Recoveries
Since its founding in 1983, BLB&G has prosecuted some of the most complex cases in history and has obtained over
$33 billion on behalf of investors. Unique among its peers, the firm has negotiated and obtained many of the largest
securities class action recoveries in history, including:
       In re WorldCom, Inc. Securities Litigation – $6.19 billion recovery
       In re Cendant Corporation Securities Litigation – $3.3 billion recovery




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       In re Bank of America Corp. Securities, Derivative, and Employee Retirement Income Security Act (ERISA)
        Litigation – $2.43 billion recovery
       In re Nortel Networks Corporation Securities Litigation (Nortel II) – $1.07 billion recovery
       In re Merck & Co., Inc. Securities Litigation – $1.06 billion recovery
       In re McKesson HBOC, Inc. Securities Litigation – $1.05 billion recovery
Based on our record of success, BLB&G has been at the top of the rankings by ISS Securities Class Action Services (ISS-
SCAS), a leading industry research publication that provides independent and objective third-party analysis and
statistics on securities-litigation law firms, since its inception. In its most recent report, Top 100 U.S. Class Action
Settlements of All-Time, ISS-SCAS once again ranked BLB&G as the top firm in the field for the eleventh year in a row.
BLB&G has served as lead or co-lead counsel in 37 of the ISS-SCAS’s top 100 U.S. securities-fraud settlements—more
than twice as many as any other firm—and recovered over $26 billion for investors in those cases, nearly $10 billion
more than any other plaintiffs’ securities firm.



Giving Shareholders a Voice and Changing Business Practices
for the Better
BLB&G was among the first law firms ever to obtain meaningful corporate governance reforms through litigation. In
courts throughout the country, we prosecute shareholder class and derivative actions, asserting claims for breach of
fiduciary duty and proxy violations wherever the conduct of corporate officers and/or directors, or M&A transactions,
seek to deprive shareholders of fair value, undermine shareholder voting rights, or allow management to profit at
the expense of shareholders.
We have prosecuted seminal cases establishing precedent which has increased market transparency, held
wrongdoers accountable, addressed issues in the boardroom and executive suite, challenged unfair deals, and
improved corporate business practices in groundbreaking ways.
From setting new standards of director independence, to restructuring board practices in the wake of persistent
illegal conduct; from challenging the improper use of defensive measures and deal protections for management’s
benefit, to confronting stock options backdating abuses and other self-dealing by executives; we have confronted a
variety of questionable, unethical and proliferating corporate practices. Seeking to reform faulty management
structures and address breaches of fiduciary duty by corporate officers and directors, we have obtained
unprecedented victories on behalf of shareholders seeking to improve governance and protect the shareholder
franchise.




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Firm Resume



Practice Areas
Securities Fraud Litigation
Securities fraud litigation is the cornerstone of the firm’s litigation practice. Since its founding, the firm has had the
distinction of having tried and prosecuted many of the most high-profile securities fraud class actions in history,
recovering billions of dollars and obtaining unprecedented corporate governance reforms on behalf of our clients.
BLB&G continues to play a leading role in major securities litigation pending in federal and state courts, and the firm
remains one of the nation’s leaders in representing institutional investors in securities fraud class litigation.
The firm also pursues direct actions in securities fraud cases when appropriate. By selectively opting out of certain
securities class actions, we seek to resolve our clients’ claims efficiently and for substantial multiples of what they
might otherwise recover from related class action settlements.
Our attorneys have extensive experience in the laws that regulate the securities markets and in the disclosure
requirements of corporations that issue publicly traded securities. Many also have accounting backgrounds. The
group has access to state-of-the-art, online financial wire services and databases, which enable it to instantaneously
investigate any potential securities fraud action involving a public company’s debt and equity securities. Biographies
for our attorneys can be accessed on the firm’s website, www.blbglaw.com.



Corporate Governance and Shareholder Rights
Our Corporate Governance and Shareholder Rights attorneys prosecute derivative actions, claims for breach of
fiduciary duty, and proxy violations on behalf of individual and institutional investors in state and federal courts
throughout the country. We have prosecuted actions challenging numerous highly publicized corporate transactions
which violated fair process, fair price, and the applicability of the business judgment rule, and have also addressed
issues of corporate waste, shareholder voting rights claims, and executive compensation.
Our attorneys have prosecuted numerous cases regarding the improper "backdating" of executive stock options
which resulted in windfall undisclosed compensation to executives at the direct expense of shareholders—and
returned hundreds of millions of dollars to company coffers. We also represent institutional clients in lawsuits seeking
to enforce fiduciary obligations in connection with Mergers & Acquisitions and "Going Private" transactions that
deprive shareholders of fair value when participants buy companies from their public shareholders "on the cheap."
Although enough shareholders accept the consideration offered for the transaction to close, many sophisticated
investors correctly recognize and ultimately enjoy the increased returns to be obtained by pursuing appraisal rights
and demanding that courts assign a "true value" to the shares taken private in these transactions.
Our attorneys are well versed in changing SEC rules and regulations on corporate governance issues and have a
comprehensive understanding of a wide variety of corporate law transactions and both substantive and courtroom
expertise in the specific legal areas involved. As a result of the firm's high-profile and widely recognized capabilities,
our attorneys are increasingly in demand with institutional investors who are exercising a more assertive voice with
corporate boards regarding corporate governance issues and the boards' accountability to shareholders.




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Firm Resume



Distressed Debt and Bankruptcy
BLB&G has obtained billions of dollars through litigation on behalf of bondholders and creditors of distressed and
bankrupt companies, as well as through third-party litigation brought by bankruptcy trustees and creditors’
committees against auditors, appraisers, lawyers, officers and directors, and other defendants who may have
contributed to client losses. As counsel, we advise institutions and individuals nationwide in developing strategies
and tactics to recover assets presumed lost as a result of bankruptcy. Our record in this practice area is characterized
by extensive trial experience in addition to successful settlements.


Commercial Litigation
BLB&G provides contingency fee representation in complex business litigation and has obtained substantial
recoveries on behalf of investors, corporations, bankruptcy trustees, creditor committees, and other business
entities. We have faced down the most powerful and well-funded law firms and defendants in the country—and
consistently prevailed. For example, on behalf of the bankruptcy trustee, the firm prosecuted BFA Liquidation Trust
v. Arthur Andersen, arising from the largest nonprofit bankruptcy in U.S. history. After two years of litigation and a
week-long trial, the firm obtained a $217 million recovery from Andersen for the Trust. Combined with other
recoveries, the total amounted to more than 70 percent of the Trust’s losses.
Having obtained huge recoveries with nominal out-of-pocket expenses and fees of less than 20 percent, we have
repeatedly demonstrated that valuable claims are best prosecuted by a first-rate litigation firm on a contingent basis
at negotiated percentages. Legal representation need not compound the risk and high cost inherent in today’s
complex and competitive business environment. We are paid only if we (and our clients) win. The result: the highest
quality legal representation at a fair price.


Alternative Dispute Resolution
BLB&G offers clients an accomplished team and a creative venue in which to resolve conflicts outside of the litigation
process. We have experience in U.S. and international disputes and our attorneys have led complex business-to-
business arbitrations and mediations domestically and abroad representing clients before all the major arbitration
tribunals, including the American Arbitration Association, FINRA, JAMS, International Chamber of Commerce, and the
London Court of International Arbitration.
Our lawyers have successfully arbitrated cases that range from complex business-to-business disputes to individuals’
grievances with employers. It is our experience that in some cases, a well-executed arbitration process can resolve
disputes faster, with limited appeals and with a higher level of confidentiality than public litigation.
In the wake of the credit crisis, for example, we successfully represented numerous former executives of a major
financial institution in arbitrations relating to claims for compensation. We have also assisted clients with disputes
involving failure to honor compensation commitments, disputes over the purchase of securities, businesses seeking
compensation for uncompleted contracts, and unfulfilled financing commitments.




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Firm Resume



Feedback from The Courts
Throughout the firm’s history, many courts have recognized the professional excellence and diligence of the firm and its
members. A few examples are set forth below.


In re WorldCom, Inc. Securities Litigation
- The Honorable Denise Cote of the United States District Court for the Southern District of New York
“I have the utmost confidence in plaintiffs’ counsel…they have been doing a superb job…The Class is extraordinarily well
represented in this litigation.”
“The magnitude of this settlement is attributable in significant part to Lead Counsel’s advocacy and energy…The quality
of the representation given by Lead Counsel…has been superb…and is unsurpassed in this Court’s experience with
plaintiffs’ counsel in securities litigation.”
“Lead Counsel has been energetic and creative…Its negotiations with the Citigroup Defendants have resulted in a
settlement of historic proportions.”
                                                    *        *         *
In re Clarent Corporation Securities Litigation
- The Honorable Charles R. Breyer of the United States District Court for the Northern District of California
“It was the best tried case I’ve witnessed in my years on the bench….”
“[A]n extraordinarily civilized way of presenting the issues to you [the jury]…We’ve all been treated to great civility and
the highest professional ethics in the presentation of the case…”
“These trial lawyers are some of the best I’ve ever seen.”
                                                    *        *         *
Landry’s Restaurants, Inc. Shareholder Litigation
- Vice Chancellor J. Travis Laster of the Delaware Court of Chancery
“I do want to make a comment again about the excellent efforts…put into this case…This case, I think, shows precisely
the type of benefits that you can achieve for stockholders and how representative litigation can be a very important part
of our corporate governance system…you hold up this case as an example of what to do.”
                                                    *        *         *
McCall V. Scott (Columbia/HCA Derivative Litigation)
- The Honorable Thomas A. Higgins of the United States District Court for the Middle District of Tennessee
“Counsel’s excellent qualifications and reputations are well documented in the record, and they have litigated this
complex case adeptly and tenaciously throughout the six years it has been pending. They assumed an enormous risk and
have shown great patience by taking this case on a contingent basis, and despite an early setback they have persevered
and brought about not only a large cash settlement but sweeping corporate reforms that may be invaluable to the
beneficiaries.”



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Significant Recoveries
BLB&G is counsel in many diverse nationwide class and individual actions and has obtained many of the largest and
most significant recoveries in history. The firm has successfully identified, investigated, and prosecuted many of the
most significant securities and shareholder actions in history, recovering billions of dollars on behalf of defrauded
investors and obtaining groundbreaking corporate-governance reforms. These resolutions include six recoveries of
over $1 billion, more than any other firm in our field. Examples of cases with our most significant recoveries include:



Securities Class Actions
Case:           In re WorldCom, Inc. Securities Litigation
Court:          United States District Court for the Southern District of New York
Highlights:     $6.19 billion securities fraud class action recovery—the second largest in history; unprecedented
                recoveries from Director Defendants.
Case Summary: Investors suffered massive losses in the wake of the financial fraud and subsequent bankruptcy of
              former telecom giant WorldCom, Inc. This litigation alleged that WorldCom and others disseminated
              false and misleading statements to the investing public regarding its earnings and financial condition
              in violation of the federal securities and other laws. It further alleged a nefarious relationship
              between Citigroup subsidiary Salomon Smith Barney and WorldCom, carried out primarily by
              Salomon employees involved in providing investment banking services to WorldCom, and by
              WorldCom’s former CEO and CFO. As Court-appointed Co-Lead Counsel representing Lead Plaintiff
              the New York State Common Retirement Fund, we obtained unprecedented settlements totaling
              more than $6 billion from the Investment Bank Defendants who underwrote WorldCom bonds,
              including a $2.575 billion cash settlement to settle all claims against the Citigroup Defendants. On
              the eve of trial, the 13 remaining “Underwriter Defendants,” including J.P. Morgan Chase, Deutsche
              Bank and Bank of America, agreed to pay settlements totaling nearly $3.5 billion to resolve all claims
              against them. Additionally, the day before trial was scheduled to begin, all of the former WorldCom
              Director Defendants agreed to pay over $60 million to settle the claims against them. An
              unprecedented first for outside directors, $24.75 million of that amount came out of the pockets of
              the individuals—20% of their collective net worth. The Wall Street Journal, in its coverage, profiled
              the settlement as having “shaken Wall Street, the audit profession and corporate boardrooms.” After
              four weeks of trial, Arthur Andersen, WorldCom’s former auditor, settled for $65 million. Subsequent
              settlements were reached with the former executives of WorldCom, and then with Andersen,
              bringing the total obtained for the Class to over $6.19 billion.




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Case:           In re Cendant Corporation Securities Litigation
Court:          United States District Court for the District of New Jersey
Highlights:     $3.3 billion securities fraud class action recovery – the third largest in history; significant corporate
                governance reforms obtained.
Summary:        The firm was Co-Lead Counsel in this class action against Cendant Corporation, its officers and
                directors and Ernst & Young (E&Y), its auditors, for their role in disseminating materially false and
                misleading financial statements concerning the company’s revenues, earnings and expenses for its
                1997 fiscal year. As a result of company-wide accounting irregularities, Cendant restated its financial
                results for its 1995, 1996, and 1997 fiscal years and all fiscal quarters therein. Cendant agreed to
                settle the action for $2.8 billion and to adopt some of the most extensive corporate governance
                changes in history. E&Y settled for $335 million. These settlements remain the largest sums ever
                recovered from a public company and a public accounting firm through securities class action
                litigation. BLB&G represented Lead Plaintiffs CalPERS (the California Public Employees’ Retirement
                System), the New York State Common Retirement Fund and the New York City Pension Funds, the
                three largest public pension funds in America, in this action.


Case:           In re Bank of America Corp. Securities, Derivative, and Employee Retirement Income Security Act
                (ERISA) Litigation
Court:          United States District Court for the Southern District of New York
Highlights:     $2.425 billion in cash; significant corporate governance reforms to resolve all claims. This recovery is
                by far the largest shareholder recovery related to the subprime meltdown and credit crisis; the single
                largest securities class action settlement ever resolving a Section 14(a) claim—the federal securities
                provision designed to protect investors against misstatements in connection with a proxy solicitation;
                the largest ever funded by a single corporate defendant for violations of the federal securities laws;
                the single largest settlement of a securities class action in which there was neither a financial
                restatement involved nor a criminal conviction related to the alleged misconduct; and one of the 10
                largest securities class action recoveries in history.
Summary:        The firm represented Co-Lead Plaintiffs the State Teachers Retirement System of Ohio, the Ohio
                Public Employees Retirement System, and the Teacher Retirement System of Texas in this securities
                class action filed on behalf of shareholders of Bank of America Corporation (BAC) arising from BAC’s
                2009 acquisition of Merrill Lynch & Co., Inc. The action alleges that BAC, Merrill Lynch, and certain of
                the companies’ current and former officers and directors violated the federal securities laws by
                making a series of materially false statements and omissions in connection with the acquisition.
                These violations included the alleged failure to disclose information regarding billions of dollars of
                losses which Merrill had suffered before the BAC shareholder vote on the proposed acquisition, as
                well as an undisclosed agreement allowing Merrill to pay billions in bonuses before the acquisition
                closed despite these losses. Not privy to these material facts, BAC shareholders voted to approve the
                acquisition.




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Case:           In re Nortel Networks Corporation Securities Litigation (Nortel II)
Court:          United States District Court for the Southern District of New York
Highlights:     Over $1.07 billion in cash and common stock recovered for the class.
Summary:        This securities fraud class action charged Nortel Networks Corporation and certain of its officers and
                directors with violations of the Securities Exchange Act of 1934, alleging that the Defendants
                knowingly or recklessly made false and misleading statements with respect to Nortel’s financial
                results during the relevant period. BLB&G clients the Ontario Teachers’ Pension Plan Board and the
                Treasury of the State of New Jersey and its Division of Investment were appointed as Co-Lead
                Plaintiffs for the Class in one of two related actions (Nortel II), and BLB&G was appointed Lead
                Counsel for the Class. In a historic settlement, Nortel agreed to pay $2.4 billion in cash and Nortel
                common stock to resolve both matters. Nortel later announced that its insurers had agreed to pay
                $228.5 million toward the settlement, bringing the total amount of the global settlement to
                approximately $2.7 billion, and the total amount of the Nortel II settlement to over $1.07 billion.


Case:           In re Merck & Co., Inc. Securities Litigation
Court:          United States District Court, District of New Jersey
Highlights:     $1.06 billion recovery for the class.
Summary:        This case arises out of misrepresentations and omissions concerning life-threatening risks posed by
                the “blockbuster” COX-2 painkiller Vioxx, which Merck withdrew from the market in 2004. In January
                2016, BLB&G achieved a $1.062 billion settlement on the eve of trial after more than 12 years of
                hard-fought litigation that included a successful decision at the United States Supreme Court. This
                settlement is the second-largest recovery ever obtained in the Third Circuit, one of the top 11
                securities recoveries of all time, and the largest securities recovery ever achieved against a
                pharmaceutical company. BLB&G represented Lead Plaintiff the Public Employees’ Retirement
                System of Mississippi.


Case:           In re McKesson HBOC, Inc. Securities Litigation
Court:          United States District Court for the Northern District of California
Highlights:     $1.05 billion recovery for the class.
Summary:        This securities fraud litigation was filed on behalf of purchasers of HBOC, McKesson, and McKesson
                HBOC securities, alleging that Defendants misled the investing public concerning HBOC’s and
                McKesson HBOC’s financial results. On behalf of Lead Plaintiff the New York State Common
                Retirement Fund, BLB&G obtained a $960 million settlement from the company; $72.5 million in cash
                from Arthur Andersen; and, on the eve of trial, a $10 million settlement from Bear Stearns & Co. Inc.,
                with total recoveries reaching more than $1 billion.




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Case:           HealthSouth Corporation Bondholder Litigation
Court:          United States District Court for the Northern District of Alabama
Highlights:     $804.5 million in total recoveries.
Summary:        In this litigation, BLB&G was the appointed Co-Lead Counsel for the bond holder class, representing
                Lead Plaintiff the Retirement Systems of Alabama. This action arose from allegations that
                Birmingham, Alabama based HealthSouth Corporation overstated its earnings at the direction of its
                founder and former CEO Richard Scrushy. Subsequent revelations disclosed that the overstatement
                actually exceeded over $2.4 billion, virtually wiping out all of HealthSouth’s reported profits for the
                prior five years. A total recovery of $804.5 million was obtained in this litigation through a series of
                settlements, including an approximately $445 million settlement for shareholders and bondholders,
                a $100 million in cash settlement from UBS AG, UBS Warburg LLC, and individual UBS Defendants,
                and $33.5 million in cash from the company’s auditor. The total settlement for injured HealthSouth
                bond purchasers exceeded $230 million, recouping over a third of bond purchaser damages.


Case:           In re Washington Public Power Supply System Litigation
Court:          United States District Court for the District of Arizona
Highlights:     Over $750 million—the largest securities fraud settlement ever achieved at the time.
Summary:        BLB&G was appointed Chair of the Executive Committee responsible for litigating on behalf of the
                class in this action. The case was litigated for over seven years, and involved an estimated 200 million
                pages of documents produced in discovery; the depositions of 285 fact witnesses and 34 expert
                witnesses; more than 25,000 introduced exhibits; six published district court opinions; seven appeals
                or attempted appeals to the Ninth Circuit; and a three-month jury trial, which resulted in a settlement
                of over $750 million—then the largest securities fraud settlement ever achieved.


Case:           In re Lehman Brothers Equity/Debt Securities Litigation
Court:          United States District Court for the Southern District of New York
Highlights:     $735 million in total recoveries.
Summary:        Representing the Government of Guam Retirement Fund, BLB&G successfully prosecuted this
                securities class action arising from Lehman Brothers Holdings Inc.’s issuance of billions of dollars in
                offerings of debt and equity securities that were sold using offering materials that contained untrue
                statements and missing material information.
                After four years of intense litigation, Lead Plaintiffs achieved a total of $735 million in recoveries
                consisting of: a $426 million settlement with underwriters of Lehman securities offerings; a $90
                million settlement with former Lehman directors and officers; a $99 million settlement that resolves
                claims against Ernst & Young, Lehman’s former auditor (considered one of the top 10 auditor
                settlements ever achieved); and a $120 million settlement that resolves claims against UBS Financial




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                Services, Inc. This recovery is truly remarkable not only because of the difficulty in recovering assets
                when the issuer defendant is bankrupt, but also because no financial results were restated, and the
                auditors never disavowed the statements.


Case:           In re Citigroup, Inc. Bond Action Litigation
Court:          United States District Court for the Southern District of New York
Highlights:     $730 million cash recovery; second largest recovery in a litigation arising from the financial crisis.
Summary:        In the years prior to the collapse of the subprime mortgage market, Citigroup issued 48 offerings of
                preferred stock and bonds. This securities fraud class action was filed on behalf of purchasers of
                Citigroup bonds and preferred stock alleging that these offerings contained material
                misrepresentations and omissions regarding Citigroup’s exposure to billions of dollars in mortgage-
                related assets, the loss reserves for its portfolio of high-risk residential mortgage loans, and the credit
                quality of the risky assets it held in off-balance sheet entities known as “structured investment
                vehicles.” After protracted litigation lasting four years, we obtained a $730 million cash recovery—
                the second largest securities class action recovery in a litigation arising from the financial crisis, and
                the second largest recovery ever in a securities class action brought on behalf of purchasers of debt
                securities. As Lead Bond Counsel for the Class, BLB&G represented Lead Bond Plaintiffs Minneapolis
                Firefighters’ Relief Association, Louisiana Municipal Police Employees’ Retirement System, and
                Louisiana Sheriffs’ Pension and Relief Fund.


Case:           In re Schering-Plough Corporation/Enhance Securities Litigation; In re Merck & Co., Inc. Vytorin/Zetia
                Securities Litigation
Court:          United States District Court for the District of New Jersey
Highlights:     $688 million in combined settlements (Schering-Plough settled for $473 million; Merck settled for
                $215 million) in this coordinated securities fraud litigations filed on behalf of investors in Merck and
                Schering-Plough.
Summary:        After nearly five years of intense litigation, just days before trial, BLB&G resolved the two actions
                against Merck and Schering-Plough, which stemmed from claims that Merck and Schering artificially
                inflated their market value by concealing material information and making false and misleading
                statements regarding their blockbuster anti-cholesterol drugs Zetia and Vytorin. Specifically, we
                alleged that the companies knew that their “ENHANCE” clinical trial of Vytorin (a combination of Zetia
                and a generic) demonstrated that Vytorin was no more effective than the cheaper generic at reducing
                artery thickness. The companies nonetheless championed the “benefits” of their drugs, attracting
                billions of dollars of capital. When public pressure to release the results of the ENHANCE trial became
                too great, the companies reluctantly announced these negative results, which we alleged led to sharp
                declines in the value of the companies’ securities, resulting in significant losses to investors. The
                combined $688 million in settlements (Schering-Plough settled for $473 million; Merck settled for
                $215 million) is the second largest securities recovery ever in the Third Circuit, among the top 25



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                settlements of all time, and among the ten largest recoveries ever in a case where there was no
                financial restatement. BLB&G represented Lead Plaintiffs Arkansas Teacher Retirement System, the
                Public Employees’ Retirement System of Mississippi, and the Louisiana Municipal Police Employees’
                Retirement System.


Case:           In re Lucent Technologies, Inc. Securities Litigation
Court:          United States District Court for the District of New Jersey
Highlights:     $667 million in total recoveries; the appointment of BLB&G as Co-Lead Counsel is especially
                noteworthy as it marked the first time since the 1995 passage of the Private Securities Litigation
                Reform Act that a court reopened the lead plaintiff or lead counsel selection process to account for
                changed circumstances, new issues, and possible conflicts between new and old allegations.
Summary:        BLB&G served as Co-Lead Counsel in this securities class action, representing Lead Plaintiffs the
                Parnassus Fund, Teamsters Locals 175 & 505 D&P Pension Trust, Anchorage Police and Fire
                Retirement System, and the Louisiana School Employees’ Retirement System. The complaint accused
                Lucent of making false and misleading statements to the investing public concerning its publicly
                reported financial results and failing to disclose the serious problems in its optical networking
                business. When the truth was disclosed, Lucent admitted that it had improperly recognized revenue
                of nearly $679 million in fiscal 2000. The settlement obtained in this case is valued at approximately
                $667 million, and is composed of cash, stock, and warrants.


Case:           In re Wachovia Preferred Securities and Bond/Notes Litigation
Court:          United States District Court for the Southern District of New York
Highlights:     $627 million recovery—among the largest securities class action recoveries in history; third-largest
                recovery obtained in an action arising from the subprime mortgage crisis.
Summary:        This securities class action was filed on behalf of investors in certain Wachovia bonds and preferred
                securities against Wachovia Corp., certain former officers and directors, various underwriters, and
                its auditor, KPMG LLP. The case alleged that Wachovia provided offering materials that
                misrepresented and omitted material facts concerning the nature and quality of Wachovia’s
                multibillion-dollar option-ARM (adjustable rate mortgage) “Pick-A-Pay” mortgage loan portfolio, and
                that Wachovia’s loan loss reserves were materially inadequate. According to the Complaint, these
                undisclosed problems threatened the viability of the financial institution, requiring it to be “bailed
                out” during the financial crisis before it was acquired by Wells Fargo. The combined $627 million
                recovery obtained in the action is among the 20 largest securities class action recoveries in history,
                the largest settlement ever in a class action case asserting only claims under the Securities Act of
                1933, and one of a handful of securities class action recoveries obtained where there were no parallel
                civil or criminal actions brought by government authorities. The firm represented Co-Lead Plaintiffs
                Orange County Employees Retirement System and Louisiana Sheriffs’ Pension and Relief Fund in this
                action.



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Case:           Bear Stearns Mortgage Pass-Through Litigation
Court:          United States District Court for the Southern District of New York
Highlights:     $500 million recovery—the largest recovery ever on behalf of purchasers of residential mortgage-
                backed securities.
Summary:        BLB&G served as Co-Lead Counsel in this securities action, representing Lead Plaintiffs the Public
                Employees’ Retirement System of Mississippi. The case alleged that Bear Stearns & Company, Inc.
                sold mortgage pass-through certificates using false and misleading offering documents. The offering
                documents contained false and misleading statements related to, among other things, (1) the
                underwriting guidelines used to originate the mortgage loans underlying the certificates; and (2) the
                accuracy of the appraisals for the properties underlying the certificates. After six years of hard-fought
                litigation and extensive arm’s-length negotiations, the $500 million recovery is the largest settlement
                in a U.S. class action against a bank that packaged and sold mortgage securities at the center of the
                2008 financial crisis.


Case:           Gary Hefler et al. v. Wells Fargo & Company et al.
Court:          United States District Court for the Northern District of California
Highlights      $480 million recovery—the fourth largest securities settlement ever achieved in the Ninth Circuit
                and the 32nd largest securities settlement ever in the United States.
Summary:        BLB&G served as Lead Counsel for the Court-appointed Lead Plaintiff Union Asset Management
                Holding, AG in this action, which alleged that Wells Fargo and certain current and former officers and
                directors of Wells Fargo made a series of materially false statements and omissions in connection
                with Wells Fargo’s secret creation of fake or unauthorized client accounts in order to hit
                performance-based compensation goals. After years of presenting a business driven by legitimate
                growth prospects, U.S. regulators revealed in September 2016 that Wells Fargo employees were
                secretly opening millions of potentially unauthorized accounts for existing Wells Fargo customers.
                The Complaint alleged that these accounts were opened in order to hit performance targets and
                inflate the “cross-sell” metrics that investors used to measure Wells Fargo’s financial health and
                anticipated growth. When the market learned the truth about Wells Fargo’s violation of its
                customers’ trust and failure to disclose reliable information to its investors, the price of Wells Fargo’s
                stock dropped, causing substantial investor losses.


Case:           Ohio Public Employees Retirement System v. Freddie Mac
Court:          United States District Court for the Southern District of Ohio
Highlights:     $410 million settlement.
Summary:        This securities fraud class action was filed on behalf of the Ohio Public Employees Retirement System
                and the State Teachers Retirement System of Ohio alleging that Federal Home Loan Mortgage
                Corporation (Freddie Mac) and certain of its current and former officers issued false and misleading



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                statements in connection with the company’s previously reported financial results. Specifically, the
                Complaint alleged that the Defendants misrepresented the company’s operations and financial
                results by having engaged in numerous improper transactions and accounting machinations that
                violated fundamental GAAP precepts in order to artificially smooth the company’s earnings and to
                hide earnings volatility. In connection with these improprieties, Freddie Mac restated more than $5
                billion in earnings. A settlement of $410 million was reached in the case just as deposition discovery
                had begun and document review was complete.


Case:           In re Refco, Inc. Securities Litigation
Court:          United States District Court for the Southern District of New York
Highlights:     Over $407 million in total recoveries.
Summary:        The lawsuit arises from the revelation that Refco, a once prominent brokerage, had for years secreted
                hundreds of millions of dollars of uncollectible receivables with a related entity controlled by Phillip
                Bennett, the company’s Chairman and Chief Executive Officer. This revelation caused the stunning
                collapse of the company a mere two months after its initial public offering of common stock. As a
                result, Refco filed one of the largest bankruptcies in U.S. history. Settlements have been obtained
                from multiple company and individual defendants, resulting in a total recovery for the class of over
                $407 million. BLB&G represented Co-Lead Plaintiff RH Capital Associates LLC.


Case:           In re Allergan, Inc. Proxy Violation Securities Litigation
Court:          United States District Court for the Central District of California
Highlights:     Litigation recovered over $250 million for investors while challenging an unprecedented insider
                trading scheme by billionaire hedge fund manager Bill Ackman.
Summary:        As alleged in groundbreaking litigation, billionaire hedge fund manager Bill Ackman and his Pershing
                Square Capital Management fund secretly acquired a near 10% stake in pharmaceutical concern
                Allergan, Inc. as part of an unprecedented insider trading scheme by Ackman and Valeant
                Pharmaceuticals International, Inc. What Ackman knew—but investors did not—was that in the
                ensuing weeks, Valeant would be launching a hostile bid to acquire Allergan shares at a far higher
                price. Ackman enjoyed a massive instantaneous profit upon public news of the proposed acquisition,
                and the scheme worked for both parties as he kicked back hundreds of millions of his insider-trading
                proceeds to Valeant after Allergan agreed to be bought by a rival bidder. After a ferocious three-year
                legal battle over this attempt to circumvent the spirit of the U.S. securities laws, BLB&G obtained a
                $250 million settlement for Allergan investors, and created precedent to prevent similar such
                schemes in the future. The Plaintiffs in this action were the State Teachers Retirement System of
                Ohio, the Iowa Public Employees Retirement System, and Patrick T. Johnson.




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Corporate Governance and Shareholders’ Rights
Case:           City of Monroe Employees’ Retirement System, Derivatively on Behalf of Twenty-First Century Fox,
                Inc. v. Rupert Murdoch, et al.
Court:          Delaware Court of Chancery
Highlights:     Landmark derivative litigation established unprecedented, independent Board-level council to
                ensure employees are protected from workplace harassment while recouping $90 million for the
                company’s coffers.
Summary:        Before the birth of the #metoo movement, BLB&G led the prosecution of an unprecedented
                shareholder derivative litigation against Fox News parent 21st Century Fox, Inc. arising from the
                systemic sexual and workplace harassment at the embattled network. After nearly 18 months of
                litigation, discovery and negotiation related to the shocking misconduct and the Board’s extensive
                alleged governance failures, the parties unveil a landmark settlement with two key components: 1)
                the first ever Board-level watchdog of its kind—the “Fox News Workplace Professionalism and
                Inclusion Council” of experts (WPIC)—majority independent of the Murdochs, the Company and
                Board; and 2) one of the largest financial recoveries—$90 million—ever obtained in a pure corporate
                board oversight dispute. The WPIC serves as a model for public companies in all industries. The firm
                represented 21st Century Fox shareholder the City of Monroe (Michigan) Employees’ Retirement
                System.


Case:           In re McKesson Corporation Derivative Litigation
Court:          United States District Court, Northern District of California, Oakland Division and Delaware Chancery
                Court
Highlights:     Litigation recovered $175 million and achieved substantial corporate governance reforms.
Summary:        BLB&G represented the Police & Fire Retirement System City of Detroit and Amalgamated Bank in
                this derivative class action arising from the company’s role in permitting and exacerbating America’s
                ongoing opioid crisis. The complaint, initially filed in Delaware Chancery Court, alleged that
                defendants breached their fiduciary duties by failing to adequately oversee McKesson’s compliance
                with provisions of the Controlled Substances Act and a series of settlements with the Drug
                Enforcement Administration intended to regulate the distribution and misuse of controlled
                substances such as opioids. Even after paying fines and settlements in the hundreds of millions of
                dollars, McKesson was sued in the National Opioid Multidistrict Litigation. In May 2018, our clients
                joined a substantially similar action being litigated in California federal court. Acting as co-lead
                counsel, BLB&G played a major role in litigating the case, opposing a motion to stay the action by a
                special litigation committee, and engaging in extensive pretrial discovery. Ultimately, $175 million
                was recovered for the benefit of McKesson’s shareholders in a settlement that also created
                substantial corporate-governance reforms to prevent a recurrence of McKesson’s inadequate legal
                compliance efforts.




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Case:           UnitedHealth Group, Inc. Shareholder Derivative Litigation
Court:          United States District Court for the District of Minnesota
Highlights:     Litigation recovered over $920 million in ill-gotten compensation directly from former officers for
                their roles in illegally backdating stock options, while the company agreed to far-reaching reforms
                aimed at curbing future executive compensation abuses.
Summary:        This shareholder derivative action filed against certain current and former executive officers and
                members of the Board of Directors of UnitedHealth Group, Inc. alleged that the Defendants obtained,
                approved and/or acquiesced in the issuance of stock options to senior executives that were
                unlawfully backdated to provide the recipients with windfall compensation at the direct expense of
                UnitedHealth and its shareholders. The firm recovered over $920 million in ill-gotten compensation
                directly from the former officer Defendants—the largest derivative recovery in history. As feature
                coverage in The New York Times indicated, “investors everywhere should applaud [the UnitedHealth
                settlement]….[T]he recovery sets a standard of behavior for other companies and boards when
                performance pay is later shown to have been based on ephemeral earnings.” The Plaintiffs in this
                action were the St. Paul Teachers’ Retirement Fund Association, the Public Employees’ Retirement
                System of Mississippi, the Jacksonville Police & Fire Pension Fund, the Louisiana Sheriffs’ Pension &
                Relief Fund, the Louisiana Municipal Police Employees’ Retirement System and Fire & Police Pension
                Association of Colorado.


Case:           Caremark Merger Litigation
Court:          Delaware Court of Chancery – New Castle County
Highlights:     Landmark Court ruling ordered Caremark’s board to disclose previously withheld information,
                enjoined a shareholder vote on the CVS merger offer, and granted statutory appraisal rights to
                Caremark shareholders. The litigation ultimately forced CVS to raise its offer by $7.50 per share, equal
                to more than $3.3 billion in additional consideration to Caremark shareholders.
Summary:        Commenced on behalf of the Louisiana Municipal Police Employees’ Retirement System and other
                shareholders of Caremark RX, Inc., this shareholder class action accused the company’s directors of
                violating their fiduciary duties by approving and endorsing a proposed merger with CVS Corporation,
                all the while refusing to fairly consider an alternative transaction proposed by another bidder. In a
                landmark decision, the Court ordered the Defendants to disclose material information that had
                previously been withheld, enjoined the shareholder vote on the CVS transaction until the additional
                disclosures occurred, and granted statutory appraisal rights to Caremark’s shareholders—forcing CVS
                to increase the consideration offered to shareholders by $7.50 per share in cash (over $3 billion in
                total).




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Case:           In re Pfizer Inc. Shareholder Derivative Litigation
Court:          United States District Court for the Southern District of New York
Highlights:     Landmark settlement in which Defendants agreed to create a new Regulatory and Compliance
                Committee of the Pfizer Board to be supported by a dedicated $75 million fund.
Summary:        In the wake of Pfizer’s agreement to pay $2.3 billion as part of a settlement with the U.S. Department
                of Justice to resolve civil and criminal charges relating to the illegal marketing of at least 13 of the
                company’s most important drugs (the largest such fine ever imposed), this shareholder derivative
                action was filed against Pfizer’s senior management and Board alleging they breached their fiduciary
                duties to Pfizer by, among other things, allowing unlawful promotion of drugs to continue after
                receiving numerous “red flags” that Pfizer’s improper drug marketing was systemic and widespread.
                The suit was brought by Court-appointed Lead Plaintiffs Louisiana Sheriffs’ Pension and Relief Fund
                and Skandia Life Insurance Company, Ltd. In an unprecedented settlement reached by the parties,
                the Defendants agreed to create a new Regulatory and Compliance Committee of the Pfizer Board of
                Directors (the “Regulatory Committee”) to oversee and monitor Pfizer’s compliance and drug
                marketing practices and to review the compensation policies for Pfizer’s drug sales related
                employees.


Case:           Miller et al. v. IAC/InterActiveCorp et al.
Court:          Delaware Court of Chancery
Highlights:     This litigation shut down efforts by controlling shareholders to obtain “dynastic control” of the
                company through improper stock class issuances, setting valuable precedent and sending a strong
                message to boards and management in all sectors that such moves will not go unchallenged.
Summary:        BLB&G obtained this landmark victory for shareholder rights against IAC/InterActiveCorp and its
                controlling shareholder and chairman, Barry Diller. For decades, activist corporate founders and
                controllers sought ways to entrench their position atop the corporate hierarchy by granting
                themselves and other insiders “supervoting rights.” Diller laid out a proposal to introduce a new class
                of non-voting stock to entrench “dynastic control” of IAC within the Diller family. BLB&G litigation on
                behalf of IAC shareholders ended in capitulation with the Defendants effectively conceding the case
                by abandoning the proposal. This became a critical corporate governance precedent, given the trend
                of public companies to introduce “low” and “no-vote” share classes, which diminish shareholder
                rights, insulate management from accountability, and can distort managerial incentives by providing
                controllers voting power out of line with their actual economic interests in public companies.


Case:           In re News Corp. Shareholder Derivative Litigation
Court:          Delaware Court of Chancery – Kent County
Highlights:     An unprecedented settlement in which News Corp. recouped $139 million and enacted significant
                corporate governance reforms that combat self-dealing in the boardroom.



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Summary:     Following News Corp.’s 2011 acquisition of a company owned by News Corp. Chairman and CEO
             Rupert Murdoch’s daughter, and the phone-hacking scandal within its British newspaper division, we
             filed a derivative litigation on behalf of the company because of institutional shareholder concern
             with the conduct of News Corp.’s management. We ultimately obtained an unprecedented
             settlement in which News Corp. recouped $139 million for the company coffers, and agreed to enact
             corporate governance enhancements to strengthen its compliance structure, the independence and
             functioning of its board, and the compensation and clawback policies for management.




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Clients and Fees
We are firm believers in the contingency fee as a socially useful, productive and satisfying basis of compensation for
legal services, particularly in litigation. Wherever appropriate, even with our corporate clients, we encourage
retentions in which our fee is contingent on the outcome of the litigation. This way, it is not the number of hours
worked that will determine our fee, but rather the result achieved for our client. The firm generally negotiates with
our clients a contingent fee schedule specific to each litigation, and all fee proposals are approved by the client prior
to commencing litigation, and ultimately by the Court.
Our clients include many large and well-known financial and lending institutions and pension funds, as well as
privately held companies that are attracted to our firm because of our reputation, expertise, and fee structure. Most
of the firm’s clients are referred by other clients, law firms and lawyers, bankers, investors, and accountants. A
considerable number of clients have been referred to the firm by former adversaries. We have always maintained a
high level of independence and discretion in the cases we decide to prosecute. As a result, the level of personal
satisfaction and commitment to our work is high.




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In The Public Interest
Bernstein Litowitz Berger & Grossmann LLP is guided by two principles: excellence in legal work and a belief that the
law should serve a socially useful and dynamic purpose. Attorneys at the firm are active in academic, community and
pro bono activities, and regularly participate as speakers and contributors to professional organizations. In addition,
the firm endows a public interest law fellowship and sponsors an academic scholarship at Columbia Law School.
Highlights of our community contributions include the following:

Bernstein Litowitz Berger & Grossmann Public Interest Law Fellows
BLB&G is committed to fighting discrimination and effecting positive social change. In support of this commitment,
the firm donates funds to Columbia Law School to create the Bernstein Litowitz Berger & Grossmann Public Interest
Law Fellowship. This fund at Columbia Law School provides Fellows with 100% of the funding needed to make
payments on their law school tuition loans so long as such graduates remain in the public interest law field. The
BLB&G Fellows are able to begin their careers free of any school debt if they make a long-term commitment to public
interest law.

Firm Sponsorship of Her Justice
BLB&G is a sponsor of Her Justice, a not-for-profit organization in New York City dedicated to providing pro bono legal
representation to indigent women, principally vulnerable women, in connection with the myriad legal problems they
face. The organization trains and supports the efforts of New York lawyers who provide pro bono counsel to these
women. Several members and associates of the firm volunteer their time to help women who need divorces from
abusive spouses, or representation on issues such as child support, custody, and visitation. To read more about Her
Justice, visit the organization’s website at http://www.herjustice.org/.

Firm Sponsorship of City Year New York
BLB&G is also an active supporter of City Year New York, a division of AmeriCorps. The program was founded in 1988
as a means of encouraging young people to devote time to public service and unites a diverse group of volunteers
for a demanding year of full-time community service, leadership development and civic engagement. Through their
service, corps members experience a rite of passage that can inspire a lifetime of citizenship and build a stronger
democracy.

Max W. Berger Pre-Law Program
In order to encourage outstanding minority undergraduates to pursue a meaningful career in the legal profession,
the Max W. Berger Pre-Law Program was established at Baruch College. Providing workshops, seminars, counseling
and mentoring to Baruch students, the program facilitates and guides them through the law school research and
application process, as well as placing them in appropriate internships and other pre-law working environments.




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Our Attorneys
BLB&G employs a dedicated team of attorneys, including partners, counsel, associates, and senior staff attorneys.
Biographies for each of our attorneys can be found on our website by clicking here. On a case-by-case basis, we also
make use of a pool of staff attorneys to supplement our litigation teams. The BLB&G team also includes investigators,
financial analysts, paralegals, electronic-discovery specialists, information-technology professionals, and
administrative staff. Biographies for our investigative team are available on our website by clicking here, and
biographies for the leaders of our administrative departments are viewable here.



Partners
Max Berger is the Founding partner Max Berger has grown BLB&G from a partnership of four lawyers in 1983 into
what the Financial Times described as “one of the most powerful securities class action law firms in the United
States” by prosecuting seminal cases which have increased market transparency, held wrongdoers accountable,
and improved corporate business practices in groundbreaking ways.
Described by sources quoted in leading industry publication Chambers USA as "the smartest, most strategic plaintiffs'
lawyer [they have] ever encountered," Max has litigated many of the firm's most high-profile and significant cases
and secured some of the largest recoveries ever achieved in securities fraud lawsuits, negotiating seven of the largest
securities fraud settlements in history, each in excess of a billion dollars: Cendant ($3.3 billion), Citigroup-WorldCom
($2.575 billion), Bank of America/Merrill Lynch ($2.4 billion), JPMorgan Chase-WorldCom ($2 billion), Nortel ($1.07
billion), Merck ($1.06 billion), and McKesson ($1.05 billion). Max’s prosecution of the WorldCom litigation, which
resulted in unprecedented monetary contributions from WorldCom’s outside directors (nearly $25 million out of their
own pockets on top of their insurance coverage) “shook Wall Street, the audit profession and corporate boardrooms.”
(The Wall Street Journal)
Max’s cases have resulted in sweeping corporate governance overhauls, including the creation of an independent
task force to oversee and monitor diversity practices (Texaco discrimination litigation), establishing an industry-
accepted definition of director independence, increasing a board’s power and responsibility to oversee internal
controls and financial reporting (Columbia/HCA), and creating a Healthcare Law Regulatory Committee with
dedicated funding to improve the standard for regulatory compliance oversight by a public company board of
directors (Pfizer). His cases have yielded results which have served as models for public companies going forward.
Most recently, before the #metoo movement came alive, on behalf of an institutional investor client, Max handled
the prosecution of an unprecedented shareholder derivative litigation against Fox News parent 21st Century Fox, Inc.
arising from the systemic sexual and workplace harassment at the embattled network. After nearly 18 months of
litigation, discovery, and negotiation related to the shocking misconduct and the Board’s extensive alleged
governance failures, the parties unveiled a landmark settlement with two key components: 1) the first ever Board-
level watchdog of its kind—the "Fox News Workplace Professionalism and Inclusion Council" of experts (WPIC)—
majority independent of the Murdochs, the Company and Board; and 2) one of the largest financial recoveries—$90
million—ever obtained in a pure corporate board oversight dispute. The WPIC is expected to serve as a model for
public companies in all industries.




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Max’s work has garnered him extensive media attention, and he has been the subject of feature articles in a variety
of major media publications. The New York Times highlighted his remarkable track record in an October 2012 profile
entitled "Investors’ Billion-Dollar Fraud Fighter," which also discussed his role in the Bank of America/Merrill Lynch
Merger litigation. In 2011, Max was twice profiled by The American Lawyer for his role in negotiating a $627 million
recovery on behalf of investors in the In re Wachovia Corp. Securities Litigation, and a $516 million recovery in In re
Lehman Brothers Equity/Debt Securities Litigation. For his outstanding efforts on behalf of WorldCom investors, he
was featured in articles in BusinessWeek and The American Lawyer, and The National Law Journal profiled Max (one
of only eleven attorneys selected nationwide) in its annual 2005 "Winning Attorneys" section. He was subsequently
featured in a 2006 New York Times article, "A Class-Action Shuffle," which assessed the evolving landscape of the
securities litigation arena.
One of the “100 Most Influential Lawyers in America”
Widely recognized as the “Dean” of the U.S. plaintiff securities bar for his remarkable career and his professional
excellence, Max has a distinguished and unparalleled list of honors to his name.
       He was selected as one of the “100 Most Influential Lawyers in America” by The National Law Journal for
        being “front and center” in holding Wall Street banks accountable and obtaining over $5 billion in cases
        arising from the subprime meltdown, and for his work as a “master negotiator” in obtaining numerous multi-
        billion dollar recoveries for investors.
       Described as a "standard-bearer" for the profession in a career spanning nearly 50 years, he is the recipient
        of Chambers USA’s award for Outstanding Contribution to the Legal Profession. In presenting this prestigious
        honor, Chambers recognized Max’s “numerous headline-grabbing successes,” as well as his unique stature
        among colleagues—“warmly lauded by his peers, who are nevertheless loath to find him on the other side of
        the table.” Max has been recognized as a litigation "star" and leading lawyer in his field by Chambers since
        its inception.
       Benchmark Litigation recently inducted him into its exclusive “Hall of Fame” and named him a 2021
        "Litigation Star" in recognition of his career achievements and impact on the field of securities litigation.
       Upon its tenth anniversary, Lawdragon named Max a “Lawdragon Legend” for his accomplishments. He was
        recently inducted into Lawdragon's "Hall of Fame." He is regularly included in the publication's "500 Leading
        Lawyers in America" and "100 Securities Litigators You Need to Know" lists.
       Law360 published a special feature discussing his life and career as a “Titan of the Plaintiffs Bar,” named him
        one of only six litigators selected nationally as a “Legal MVP,” and selected him as one of “10 Legal Superstars”
        nationally for his work in securities litigation.
       Max has been regularly named a "leading lawyer" in the Legal 500 US Guide where he was also named to
        their "Hall of Fame" list, as well as The Best Lawyers in America® guide.
       Max was honored for his outstanding contribution to the public interest by Trial Lawyers for Public Justice,
        which named him a "Trial Lawyer of the Year" Finalist in 1997 for his work in Roberts, et al. v. Texaco, the
        celebrated race discrimination case, on behalf of Texaco's African-American employees.
Max has lectured extensively for many professional organizations, and is the author and co-author of numerous
articles on developments in the securities laws and their implications for public policy. He was chosen, along with



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several of his BLB&G partners, to author the first chapter—“Plaintiffs’ Perspective”—of Lexis/Nexis’s seminal industry
guide Litigating Securities Class Actions. An esteemed voice on all sides of the legal and financial markets, in 2008 the
SEC and Treasury called on Max to provide guidance on regulatory changes being considered as the accounting
profession was experiencing tectonic shifts shortly before the financial crisis.
Max also serves the academic community in numerous capacities. A long-time member of the Board of Trustees of
Baruch College, he served as the President of the Baruch College Fund from 2015-2019 and now serves as its
Chairman. In May 2006, he was presented with the Distinguished Alumnus Award for his contributions to Baruch
College, and in 2019, was awarded an honorary Doctor of Laws degree at Baruch’s commencement, the highest honor
Baruch College confers upon an individual for non-academic achievement. The award recognized his decades-long
dedication to the mission and vision of the College, and in bestowing it, Baruch's President described Max as “one of
the most influential individuals in the history of Baruch College.” Max established the Max Berger Pre-Law Program
at Baruch College in 2007.
A member of the Dean's Council to Columbia Law School as well as the Columbia Law School Public Interest/Public
Service Council, Max has taught Profession of Law, an ethics course at Columbia Law School, and serves on the
Advisory Board of Columbia Law School's Center on Corporate Governance. In February 2011, Max received Columbia
Law School's most prestigious and highest honor, "The Medal for Excellence." This award is presented annually to
Columbia Law School alumni who exemplify the qualities of character, intellect, and social and professional
responsibility that the Law School seeks to instill in its students. As a recipient of this award, Max was profiled in the
Fall 2011 issue of Columbia Law School Magazine. Max is a member of the American Law Institute and an Advisor to
its Restatement Third: Economic Torts project. Max recently endowed the Max Berger '71 Public Interest/Public
Service Fellows Program at Columbia Law School. The program provides support for law students interested in
pursuing careers in public service. Max and his wife, Dale, previously endowed the Dale and Max Berger Public
Interest Law Fellowship at Columbia Law School and, under Max's leadership, BLB&G also created the Bernstein
Litowitz Berger & Grossmann Public Interest Law Fellowship at Columbia.
Among numerous charitable and volunteer works, Max is a significant and long-time contributor to Her Justice, a
non-profit organization in New York City dedicated to providing pro bono legal representation to indigent women,
principally survivors of intimate partner violence, in connection with the many legal problems they face. In
recognition of their personal support of the organization, Max and his wife, Dale Berger, were awarded the "Above
and Beyond Commitment to Justice Award" by Her Justice in 2021 for being steadfast advocates for women living in
poverty in New York City. In addition to his personal support of Her Justice, Max has ensured BLB&G's long-time
involvement with the organization. Max is also an active supporter of City Year New York, a division of AmeriCorps,
dedicated to encouraging young people to devote time to public service. In July 2005, he was named City Year New
York's "Idealist of the Year," for his commitment to, service for, and work in the community. A celebrated
photographer, Max has held two successful photography shows that raised hundreds of thousands of dollars for City
Year and Her Justice.
* Not admitted to practice in California.




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EDUCATION: Columbia Law School, J.D., 1971, Editor of the Columbia Survey of Human Rights Law; Baruch College-
City University of New York, B.B.A., Accounting, 1968.
ADMISSIONS: New York; United States District Court for the Eastern District of New York; United States District
Court for the Southern District of New York; United States Court of Appeals for the Second Circuit; United States
Court of Appeals for the Third Circuit; United States Court of Appeals for the Sixth Circuit; Supreme Court of the
United States.


Michael Blatchley’s practice focuses on securities fraud litigation. He is currently a member of the firm’s new matter
department in which he, along with a team of attorneys, financial analysts, forensic accountants, and investigators,
counsels the firm’s clients on their legal claims.
Michael has also served as a member of the litigation teams responsible for prosecuting a number of the firm’s
cases. For example, Michael was a key member of the team that recovered $150 million for investors in In re
JPMorgan Chase & Co. Securities Litigation, a securities fraud class action arising out of misrepresentations and
omissions concerning JPMorgan’s Chief Investment Office, the company’s risk management systems, and the trading
activities of the so-called “London Whale.” He was also a member of the litigation team in In re Medtronic, Inc.
Securities Litigation, an action arising out of allegations that Medtronic promoted the Infuse bone graft for dangerous
“off-label” uses, which resulted in an $85 million recovery for investors. In addition, Michael prosecuted a number of
cases related to the financial crisis, including several actions arising out of wrongdoing related to the issuance of
residential mortgage-backed securities and other complex financial products.
Most recently, he was a member of the team that achieved a $250 million recovery for investors in In re Allergan, Inc.
Proxy Violation Securities Litigation, a precedent-setting case alleging unlawful insider trading by hedge fund
billionaire Bill Ackman.
Among other accolades, Michael has been repeatedly named to Benchmark Litigation’s “Under 40 Hot List,” selected
as a leading plaintiff financial lawyer by Lawdragon, and recognized as a “Super Lawyer by Thomson Reuters' Super
Lawyers. He frequently presents to public pension fund professionals and trustees concerning legal issues impacting
their funds, has authored numerous articles addressing investor rights, including, for example, a chapter in the
Practising Law Institute’s 2017 Financial Services Mediation Answer Book, and is a regular speaker at institutional
investor conferences. While attending Brooklyn Law School, Michael held a judicial internship position for the
Honorable David G. Trager, United States District Judge for the Eastern District of New York. In addition, he worked
as an intern at The Legal Aid Society's Harlem Community Law Office, as well as at Brooklyn Law School's Second Look
and Workers’ Rights Clinics, and provided legal assistance to victims of Hurricane Katrina in New Orleans, Louisiana.
EDUCATION: Brooklyn Law School, J.D., Edward V. Sparer Public Interest Law Fellowship; William Payson Richardson
Memorial Prize; Richard Elliott Bklyn Memorial Prize; Editor for the Brooklyn Law Review; Moot Court Honor Society;
University of Wisconsin, B.A.
ADMISSIONS: New York; New Jersey; United States District Court for the Southern District of New York; United States
District Court for the District of New Jersey; United States District Court for the Western District of Wisconsin; United
States Court of Appeals for the Ninth Circuit.




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Scott Foglietta prosecutes securities fraud, corporate governance, and shareholder rights litigation on behalf of the
firm’s institutional investor clients. As a member of the New Matter Department—the firm’s case development and
client advisory group—Scott advises Taft-Hartley pension funds, public pension funds, and other institutional
investors on potential legal claims.
Scott was an integral member of the team that advised the firm’s clients in numerous matters including in securities
class actions against Wells Fargo, which resulted in a $480 million recovery; against Salix, which resulted in a $210
million recovery; and against Equifax, which resulted in a $149 million recovery. Scott was also key part of the teams
that evaluated and developed novel case theories or claims in numerous cases, such as Willis Towers Watson, which
arose from misrepresentations made in a proxy statement in connection with the merger between Willis Group and
Towers Watson and was recently resolved for $75 million (pending court approval), and the ongoing securities class
action against Perrigo arising from misrepresentations made in connection with a tender offer for shares trading in
both the United States and Israel. Scott was also a member of the team that secured our clients’ appointments as
lead plaintiffs in the ongoing securities class actions against Boeing, Kraft Heinz, and Luckin Coffee, among others.
Scott was a member of the litigation teams representing investors in securities class actions against FleetCor
Technologies, which resulted in a $50 million recovery, and Lumber Liquidators, which achieved a recovery of $45
million. He is currently part of the team advising one of the firm’s institutional investor clients in a shareholder
derivative action against the board of directors of FirstEnergy Corp. arising from the company’s role in an egregious
public corruption scandal. For his accomplishments, Scott has been regularly named a New York “Rising Star” in the
area of securities litigation by Thomson Reuters Super Lawyers and in 2021 was chosen as a "Rising Star of the
Plaintiffs Bar" by The National Law Journal and chosen by Benchmark Litigation for its “40 & Under Hot List.”
Before joining the firm, Scott represented institutional and individual clients in a wide variety of complex litigation
matters, including securities class actions, commercial litigation, and ERISA litigation. Prior to law school, Scott earned
his M.B.A. in finance from Clark University and worked as a capital markets analyst for a boutique investment banking
firm.
EDUCATION: Brooklyn Law School, J.D., 2010; Clark University, Graduate School of Management, M.B.A., Finance,
2007; Clark University, B.A., Management, 2006.
ADMISSIONS: New York;New Jersey; United States District Court for the Southern District of New York; United States
District Court for the Eastern District of New York; United States District Court for the District of New Jersey.


Sal Graziano is widely recognized as one of the top securities litigators in the country. He has served as lead trial
counsel in a wide variety of major securities fraud class actions, recovering billions of dollars on behalf of institutional
investors and hedge fund clients.
Over the course of his distinguished career, Sal has successfully litigated many high-profile cases, including: Merck &
Co., Inc. (Vioxx) Sec. Litig.(D.N.J.); In re Schering-Plough Corp./ENHANCE Sec. Litig. (D.N.J.); New York State Teachers'
Retirement System v. General Motors Co. (E.D. Mich.); In re MF Global Holdings Limited Sec. Litig. (S.D.N.Y); In re
Raytheon Sec. Litig. (D. Mass.); In re Refco Sec. Litig. (S.D.N.Y.); In re MicroStrategy, Inc. Sec. Litig. (E.D. Va.); In re
Bristol Myers Squibb Co. Sec. Litig. (S.D.N.Y.); and In re New Century Sec. Litig. (C.D. Cal.).




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Industry observers, peers and adversaries routinely honor Sal for his accomplishments. He is one of the "Top 100
Trial Lawyers" in the nation and a "Litigation Star" according to Benchmark Litigation, which credits him for
performing “top quality work.” Chambers USA describes Sal as "wonderfully talented…a smart, aggressive lawyer
who works hard for his clients," and "the go-to for the biggest cases," while Legal 500 praises him as a "highly effective
litigator.” Heralded multiple times as one of a handful of Securities Litigation and Class Action "MVPs" in the nation
by Law360, he has also been named a "Litigation Trailblazer" by The National Law Journal. Sal is also one of
Lawdragon’s "500 Leading Lawyers in America," named as a leading mass tort and plaintiff class action litigator by
Best Lawyers®, and is one of Thomson Reuters' Super Lawyers.
A highly esteemed voice on investor rights, regulatory and market issues, in 2008 he was called upon by the Securities
and Exchange Commission's Advisory Committee on Improvements to Financial Reporting to give testimony as to the
state of the industry and potential impacts of proposed regulatory changes being considered. He is the author and
co-author of numerous articles on developments in the securities laws, and was chosen, along with several of his
BLB&G partners, to author the first chapter - “Plaintiffs’ Perspective” - of Lexis/Nexis’s seminal industry guide
Litigating Securities Class Actions.
A member of the firm's Executive Committee, Sal has previously served as the President of the National Association
of Shareholder & Consumer Attorneys, and has served as a member of the Financial Reporting Committee and the
Securities Regulation Committee of the Association of the Bar of the City of New York. He regularly speaks on
securities fraud litigation and shareholder rights, and has guest lectured at Columbia Law School on the topic.
Prior to entering private practice, Sal served as an Assistant District Attorney in the Manhattan District Attorney's
Office.
EDUCATION: New York University School of Law, J.D., 1991; New York University - The College of Arts and Science,
B.A., Psychology, 1988.
ADMISSIONS: New York; United States District Court for the Southern District of New York; United States District
Court for the Eastern District of New York; United States District Court for the Eastern District of Michigan; United
States Court of Appeals for the First Circuit; United States Court of Appeals for the Second Circuit; United States Court
of Appeals for the Third Circuit; United States Court of Appeals for the Fourth Circuit; United States Court of Appeals
for the Sixth Circuit; United States Court of Appeals for the Ninth Circuit; United States Court of Appeals for the
Eleventh Circuit.



Avi Josefson prosecutes securities fraud litigation for the firm’s institutional investor clients, and has participated in
many of the firm’s significant representations, including In re SCOR Holding (Switzerland) AG Securities Litigation,
which resulted in a recovery worth in excess of $143 million for investors. He was also a member of the team that
litigated the In re OM Group, Inc. Securities Litigation, which resulted in a settlement of $92.4 million.
As a member of the firm's new matter department, Avi counsels institutional clients on potential legal claims. He has
presented argument in several federal and state courts, including an appeal he argued before the Delaware Supreme
Court.
Recognized as both a "Leading Plaintiff Financial Lawyer" and as one of "500 Leading Lawyers in America" by
Lawdragon and by The National Law Journal as a "Plaintiffs’ Lawyers Trailblazer," Avi is also actively involved in the



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M&A litigation practice, and represented shareholders in the litigation arising from the proposed acquisitions of
Ceridian Corporation and Anheuser-Busch. A member of the firm’s subprime litigation team, he has participated in
securities fraud actions arising from the collapse of subprime mortgage lender American Home Mortgage and the
actions against Lehman Brothers, Citigroup and Merrill Lynch, arising from those banks' multi-billion dollar loss from
mortgage-backed investments. Avi has prosecuted actions against Deutsche Bank and Morgan Stanley arising from
their sale of mortgage-backed securities, and is advising U.S. and foreign institutions concerning similar claims arising
from investments in mortgage-backed securities.
Avi practices in the firm's Chicago and New York offices.
EDUCATION: Northwestern University School of Law, J.D., 2000, Awarded the Justice Stevens Public Interest
Fellowship (1999); Public Interest Law Initiative Fellowship (2000); Brandeis University, B.A., 1997.
ADMISSIONS: Illinois; New York; United States District Court for the Southern District of New York; United States
District Court for the Northern District of Illinois.


Jerry Silk's practice focuses on representing institutional investors on matters involving federal and state securities
laws, accountants' liability, and the fiduciary duties of corporate officials, as well as general commercial and corporate
litigation. He also advises creditors on their rights with respect to pursuing affirmative claims against officers and
directors, as well as professionals both inside and outside the bankruptcy context.
Jerry is a member of the firm's Executive Committee. He also oversees the firm's New Matter department in which
he, along with a group of attorneys, financial analysts and investigators, counsels institutional clients on potential
legal claims. In December 2014, Jerry was recognized by The National Law Journal in its inaugural list of “Litigation
Trailblazers & Pioneers” — one of several lawyers in the country who have changed the practice of litigation through
the use of innovative legal strategies — in no small part for the critical role he has played in helping the firm’s investor
clients recover billions of dollars in litigation arising from the financial crisis, among other matters.
In addition, Lawdragon magazine, which has named Jerry one of the "100 Securities Litigators You Need to Know,"
one of the "500 Leading Lawyers in America," and one of America's top 500 "Rising Stars" in the legal profession, also
profiled him as part of its “Lawyer Limelight” special series, discussing subprime litigation, his passion for plaintiffs’
work and the trends he expects to see in the market. Recognized as one of an elite group of notable practitioners,
Chambers USA’s ranked Jerry nationally “for his expertise in a range of cases on the plaintiff side.” He is also named
as a "Litigation Star" by Benchmark, is recommended by the Legal 500 USA guide in the field of plaintiffs’ securities
litigation, and has been selected by Thomson Reuters as a Super Lawyer every year since 2006.
In the wake of the financial crisis, he advised the firm's institutional investor clients on their rights with respect
to claims involving transactions in residential mortgage-backed securities (RMBS) and collateralized debt obligations
(CDOs). His work representing Cambridge Place Investment Management Inc. on claims under Massachusetts state
law against numerous investment banks arising from the purchase of billions of dollars of RMBS was featured in a
2010 New York Times article by Gretchen Morgenson titled, "Mortgage Investors Turn to State Courts for Relief."
Jerry also represented the New York State Teachers' Retirement System in a securities litigation against the General
Motors Company arising from a series of misrepresentations concerning the quality, safety, and reliability of the
Company's cars, which resulted in a $300 million settlement. He was also a member of the litigation team responsible




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for the successful prosecution of In re Cendant Corporation Securities Litigation in the District of New Jersey, which
was resolved for $3.2 billion. In addition, he is actively involved in the firm's prosecution of highly successful M&A
litigation, representing shareholders in widely publicized lawsuits, including the litigation arising from the proposed
acquisition of Caremark Rx, Inc. by CVS Corporation — which led to an increase of approximately $3.5 billion in the
consideration offered to shareholders.
A graduate of the Wharton School of Business, University of Pennsylvania and Brooklyn Law School, in 1995-96, Jerry
served as a law clerk to the Hon. Steven M. Gold, U.S.M.J., in the United States District Court for the Eastern District
of New York.
Jerry lectures to institutional investors at conferences throughout the country, and has written or substantially
contributed to several articles on developments in securities and corporate law, including his most recent article,
“SEC Statement On Emerging Markets Is A Stunning Failure,” which was published by Law360 on April 27, 2020. He
has authored numerous additional articles, including: "Improving Multi-Jurisdictional, Merger-Related Litigation,"
American Bar Association (February 2011); "The Compensation Game," Lawdragon, (Fall 2006); "Institutional
Investors as Lead Plaintiffs: Is There A New And Changing Landscape?," 75 St. John's Law Review 31 (Winter 2001);
"The Duty To Supervise, Poser, Broker-Dealer Law and Regulation," 3rd Ed. 2000, Chapter 15; "Derivative Litigation
In New York after Marx v. Akers," New York Business Law Journal, Vol. 1, No. 1 (Fall 1997).
He has also been a commentator for the business media on television and in print. Among other outlets, he has
appeared on NBC’s Today, and CNBC’s Power Lunch, Morning Call, and Squawkbox programs, as well as being
featured in The New York Times, Financial Times, Bloomberg, The National Law Journal, and the New York Law
Journal.
EDUCATION: Brooklyn Law School, J.D., 1995; Wharton School of the University of Pennsylvania, B.S., Economics,
1991.
ADMISSIONS: New York; United States District Court for the Southern District of New York; United States District
Court for the Eastern District of New York; United States Court of Appeals for the Second Circuit.


Katie Sinderson is a partner in the firm’s New York office. She focuses her practice on advising and representing
clients in securities fraud class actions and has been a leader on teams recovering billions of dollars for investors.
Katie played a key role in two of the firm’s largest cases, both of which settled near trial for billions of dollars on
behalf of investors. In In re Merck Securities Litigation, she was a leader of the small trial team that achieved a $1.062
billion settlement in the action arising from Merck’s marketing of the recalled drug Vioxx. She was also a member of
the trial team prosecuting In re Bank of America Securities Litigation, which resulted in a recovery of $2.425 billion,
one of the largest shareholder recoveries in history.
Most recently, Katie led the teams that recovered $74 million in the securities class action against SunEdison and $50
million in the securities class action against FleetCor Technologies. Katie also led the team that recovered $74 million
in the take-private merger litigation San Antonio Fire and Police Pension Fund et al. v. Dole Food Co. et al., and served
as a senior member of the teams that recovered $210 million in In re Salix Pharmaceuticals, Ltd. Securities Litigation,
$216.75 million in In re Washington Mutual Securities Litigation, and $210 million in In re Wilmington Trust Securities
Litigation.




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Along with partner Hannah Ross, Katie co-chairs the firm’s Women’s Forum, which offers opportunities for the firm’s
clients to network and share ideas and knowledge with female leaders in pension funds and institutional investors
around the world.
Katie’s success has earned her many recognitions, including being named a “Litigation Trailblazer” by The National
Law Journal. She has been recognized as a "Titan of the Plaintiffs Bar" and a national “Rising Star” by Law360. For
the last six years—from 2016 through 2021—Katie has been named to Benchmark Litigation’s “Under 40 Hot List,”
which recognizes her as one the nation’s most accomplished legal partners under the age of 40. She was named a
2020 "Rising Star" by New York Law Journal and is regularly selected as a New York “Rising Star” by Thomson
Reuters’ Super Lawyers. She has also been named a "500 Leading Plaintiff Financial Lawyer" by Lawdragon and a
"Next Generation Partner" by Legal 500.
EDUCATION: Georgetown University Law Center, J.D., 2006, Dean's Scholar Full Scholarship Award Recipient; Articles
Editor for The Georgetown Journal of Gender and the Law; Baylor University, B.A., 2002, Regents Full Scholarship
Award Recipient.
ADMISSIONS: New York; United States District Court for the Southern District of New York; United States Court of
Appeals for the Second Circuit; United States Court of Appeals for the Third Circuit.



Senior Counsel
Jai Chandrasekhar prosecutes securities-fraud litigation for the firm's institutional-investor clients. He has been a
member of the litigation teams on many of the firm's high-profile securities cases, including In re Schering-Plough
Corp./ENHANCE Securities Litigation, in which a settlement of $473 million was achieved for the class; In re Refco,
Inc. Securities Litigation, in which settlements totaling $367.3 million were achieved for the class; In re MF Global
Holdings Ltd. Securities Litigation, in which settlements totaling $234.3 million were achieved for the class; In re
JPMorgan Chase & Co. Securities Litigation, in which a settlement of $150 million was achieved for the class; In re
Bristol Myers Squibb Co. Securities Litigation, in which a settlement of $125 million was achieved for the class; In re
comScore, Inc. Securities Litigation, in which a settlement of $27 million in cash and $83 million in stock was achieved
for the class; In re Willis Towers Watson plc Proxy Litigation, in which a settlement of $75 million was achieved for
the class; and In re Volkswagen AG Securities Litigation, in which a settlement of $48 million was achieved on behalf
of purchasers of Volkswagen AG American Depositary Receipts (“ADRs”). Jai is also active in the firm's appellate
practice.
Jai is currently counsel for the plaintiffs in In re EQT Corporation Securities Litigation, a securities class action arising
from misrepresentations concerning EQT's acquisition of Rice Energy Inc.; In re Luckin Coffee Inc. Securities Litigation,
a securities class action arising from the Chinese coffee company's massive accounting fraud; and In re Turquoise Hill
Resources Ltd. Securities Litigation, a securities class action arising from misrepresentations by Turquoise Hill and its
controlling stockholder, Rio Tinto plc, concerning schedule delays and cost overruns in the development of Turquoise
Hill's copper mine in Mongolia.
Jai is also a member of the firm’s Global Securities and Litigation Monitoring Team, which monitors global equities
traded in non-U.S. jurisdictions for prospective and pending international securities matters, and provides critical
analysis of options to recover losses incurred on securities purchased in non-U.S. markets.



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Before joining BLB&G, Jai was a Staff Attorney with the Division of Enforcement of the United States Securities and
Exchange Commission, where he investigated securities law violations and coordinated investigations involving
multiple SEC offices and other government agencies. Before his tenure at the SEC, he was an associate at Sullivan &
Cromwell LLP, where he represented corporate issuers and underwriters in public and private offerings of stocks,
bonds, and complex securities and advised corporations on periodic reporting under the Securities Exchange Act of
1934, compliance with the Sarbanes-Oxley Act of 2002, and other corporate and securities matters.
Jai is a member of the New York County Lawyers Association, where he is a member of the Federal Courts Committee
and the Boards of Directors of the Association and the NYCLA Foundation. He is also a member of the New York State
Bar Association, where he is a member of the House of Delegates. Jai is also a member of the New York Numismatic
Club, served as the Club's president from 2019 to 2020, and is an expert on French art medals.
EDUCATION: Yale Law School, J.D., 1997, Book Review Editor, Yale Law Journal; Yale University, B.A., 1987, Phi Beta
Kappa.
ADMISSIONS: New York; United States District Court for the Southern District of New York; United States District
Court for the Eastern District of New York; United States District Court for the Western District of Wisconsin; United
States Court of Appeals for the Second Circuit; United States Court of Appeals for the Third Circuit; United States
Court of Appeals for the Fourth Circuit; United States Court of Appeals for the Fifth Circuit; United States Court of
Appeals for the Federal Circuit.


Jesse Jensen prosecutes securities fraud, corporate governance and shareholder rights litigation on behalf of the
firm’s institutional clients.
Prior to joining the firm, Jesse was a litigation associate at Hughes Hubbard & Reed, where he represented accounting
firms, banks, investment firms and high-net-worth individuals in complex commercial, securities, commodities and
professional liability civil litigation and alternative dispute resolution. He also gained considerable experience in
responding to investigations and inquiries by government regulators such as the SEC and CFTC. In addition, Jesse
actively litigated several pro bono civil rights cases, including a federal suit in which he secured a favorable settlement
for an inmate alleging physical abuse by corrections officers.
Since joining the firm, he has helped investors achieve hundreds of millions in recoveries, including a $110 million
settlement in Fresno County Employees’ Retirement Association v. comScore, Inc.; a $32 million cash settlement in an
action against real estate service provider Altisource Portfolio Solutions, S.A.; a $210 million dollar settlement in In
re Wilmington Trust Securities Litigation; and a $22 million settlement in an action against mutual fund company
Virtus Investment Partners, Inc. He is currently assisting the firm in its prosecution of Lord Abbett Affiliated Fund,
Inc. v. Navient Corporation; In re Frontier Communications Corp. Sec. Litig.; Roofer’s Pension Fund v. Papa et al.; In re
Bristol-Myers Squibb Company Sec. Litig.; and In re Cognizant Technology Solutions Co. Sec. Litig. Jesse was also a key
part of the team that achieved a $90 million recovery for investors in In re Willis Towers Watson plc Proxy Litigation
(pending court approval).
In recognition of his professional achievements and reputation, Jesse has been named a “Rising Star” for the past
seven years by Thomson Reuters Super Lawyers (no more than 2.5% of the lawyers in New York are selected to receive
this honor each year).




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EDUCATION: New York University School of Law, J.D., 2009, NYU Journal of Law and Business, Staff Editor; University
of Washington, B.A., English Literature, 2005, Honors.
ADMISSIONS: New York; United States District Court for the Southern District of New York; United States District
Court for the Eastern District of New York; United States Court of Appeals for the Second Circuit; United States Court
of Appeals for the Third Circuit; United States Court of Appeals for the Fourth Circuit.


John Mills’ practice focuses on negotiating, documenting, and obtaining court approval of the firm’s securities,
merger, and derivative settlements.
Over the past decade, John was actively involved in finalizing the following settlements, among others: In re
Wachovia Preferred Sec. and Bond/Notes Litig. (S.D.N.Y.) ($627 million settlement); In re Wilmington Trust Sec. Litig.
(D. Del.) ($210 million settlement); In re Freeport-McMoRan Copper & Gold Inc. Derivative Litig. (Del. Ch.) ($153.75
million settlement); Medina, et al. v. Clovis Oncology, Inc., et al. (D. Colo.) ($142 million settlement); In re News Corp.
S’holder Litig. (Del. Ch.) ($139 million recovery and corporate governance enhancements); In re Mut. Funds Invest.
Litig. (MFS, Invesco, and Pilgrim Baxter Sub-Tracks) (D. Md.) ($127.036 million total recovery); Fresno County
Employees’ Ret. Ass’n, et al. v. comScore, Inc., et al. (S.D.N.Y.) ($110 million settlement); In re El Paso Corp. S’holder
Litig. (Del. Ch.) ($110 million settlement); In re Starz Stockholder Litig. (Del. Ch.) ($92.5 million settlement); The Dep’t
of the Treasury of the State of New Jersey and its Div. of Invest. v. Cliffs Natural Res. Inc., et al. (N.D. Ohio) ($85 million
settlement).
John received his J.D. from Brooklyn Law School, cum laude, where he was a Carswell Merit Scholar recipient and a
member of The Brooklyn Journal of International Law. He received his B.A. from Duke University.
EDUCATION: Brooklyn Law School, J.D., 2000, Member of The Brooklyn Journal of International Law; Carswell Merit
Scholar recipient; Duke University, B.A., 1997.
ADMISSIONS: New York; United States District Court for the Southern District of New York; United States District
Court for the Eastern District of New York.



Associates
Kate Aufses prosecutes securities fraud, corporate governance and shareholder rights litigation out of the firm’s New
York office. She is currently a member of the teams prosecuting securities class actions against Facebook, Inc.,
Frontier Communications Corporation and Volkswagen AG – which recently resulted in a recovery of $48 million for
Volkswagen investors, among others.
In addition to her direct litigation responsibilities, Kate is also a member of the firm’s Global Securities and Litigation
Monitoring Team, which monitors global equities traded in non-U.S. jurisdictions on prospective and pending
international securities matters, and provides critical analysis of options to recover losses incurred on securities
purchased in non-U.S. markets.
Kate is a member of the New York County Lawyers Association, where she serves on the Supreme Court and Abortion
Rights Joint Task Force.




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Prior to joining the firm, Kate was an associate at Hughes Hubbard & Reed, where she worked on complex commercial
litigation. Prior to graduating law school, she also served as a judicial intern for the Honorable Jack B. Weinstein.
EDUCATION: University of Michigan Law School, J.D., 2015, Managing Symposium Editor, Michigan Journal of Law
Reform; University of Cambridge, MPhil, History of Art, 2010; University of Cambridge, MPhil, American Literature,
2009; Kenyon College, B.A., English, 2008.
ADMISSIONS: New York; United States District Court for the Southern District of New York; United States District
Court for the Eastern District of New York; United States Bankruptcy Court for the Southern District of New York;
United States Court of Appeals for the Second Circuit.


Angus Fei Ni [Former Associate] practiced out of the New York office, where he prosecuted securities fraud, corporate
governance and shareholder rights litigation for the firm’s institutional investor clients.
Prior to joining the firm, Angus was a litigation associate at a top New York law firm, where he drafted briefs,
conducted internal investigations, and managed discovery. He has also represented corporate clients in international
arbitrations before ICC and ICSID tribunals.
Angus was a member of the teams prosecuting securities class actions against Salix Pharmaceuticals, Ltd.,
Cardiovascular Systems, Inc., Pier 1 Imports, and Tyson Foods Inc.
EDUCATION: University of Chicago Law School, J.D., 2013, with Honors; University of Toronto, Trinity College, B.A.,
2009, College Scholar.
ADMISSIONS: New York; U.S. District Court for the Southern District of New York.


Catherine van Kampen’s law practice concentrates on class action settlement administration. She manages the
firm’s qualified settlement funds and claims administration for settlements achieved by the firm. Catherine is
responsible for initiating and managing the claims administration process and working with the Court-appointed
claims administrators and investment banks for the benefit of the Classes represented by the firm. Catherine works
closely with the firm’s partners to apply for Court approval in various jurisdictions throughout the United States for
the disbursement of settlement funds. She regularly interfaces with institutional and retail investors to explain the
claims administration process and to assist them with filing their claims.
Catherine also has extensive experience in complex litigation and litigation management, having served as a team
leader and overseen attorney teams in many of the firm’s most high-profile cases during the 2008 Financial
Crisis. Catherine has worked on more than two dozen high-value cases. Fluent in Dutch, she has served as the lead
investigator and led discovery efforts in actions involving international corporations and financial institutions
headquartered in Belgium and the Netherlands. She is certified in E-Discovery and Healthcare Compliance.
Prior to joining BLB&G, Catherine focused on complex litigation initiated by institutional investors and the Federal
Government. She has worked on litigation and investigations related to regulatory enforcement actions, corporate
governance, and compliance matters as well as conducted extensive discovery in English and Dutch in cross-border
litigation.




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Since attending law school, Catherine has been deeply committed to public and pro bono service to underserved
communities. Through her volunteer work, Catherine has been a champion of social change and justice, particularly
for immigrant and refugee women and children. As a member of the New York City Bar Association’s United Nations
Committee and African Affairs Committee, she spearheaded organizing the highly successful and widely-praised
International Law Conference on the Status of Women, Pro Bono Engagement Fair, EPIQ Women Awards and
Huntington Her Hero Awards, featuring the Under Secretary and Special Representative to the Secretary General of
the United Nations for the Prevention of Violence Against Women, and other prominent, progressive women’s
advocates from the New York Legal Community. In recognition of her work, Catherine was appointed Co-Chair of the
United Nations Committee and a Member of the Council for International Affairs in September of 2021.
A committed humanitarian, Catherine was honored as the 2018 Ambassador Medalist at the New Jersey Governor’s
Jefferson Awards for Outstanding Public Service for her international humanitarian and pro bono work with refugees.
The Jefferson Awards, issued by the Jefferson Awards Foundation that was founded by Jacqueline Kennedy Onassis,
are awarded by state governors and are considered America’s highest honor for public service bestowed by the
United States Senate. Catherine was also honored in Princeton, New Jersey, by her high school alma mater, Stuart
Country Day School, in its 2018 Distinguished Alumnae Gallery for her humanitarian and pro bono efforts on behalf
of Yezidi and Christian women and children afflicted by war in Iraq and Syria. In 2020, Catherine was accepted as a
SHESOURCE legal expert advocating for the needs of immigrant and refugee women by the Women’s Media Center,
founded by Gloria Steinem, Jane Fonda, and Robin Morgan. In 2021, Catherine was appointed a Global Goals
Ambassador for Clean Water and Sanitation by the United Nations Association of the USA, the sister organization of
the United Nations Foundation USA founded by Eleanor Roosevelt. She is a recipient of several honors recognizing
her pro bono work and commitment to social issues, including an invitation to attend the 2020 Tory Burch Foundation
Embrace Ambition Summit and an appointment to the Advisory Board of the National Center for Girls’ Leadership in
Princeton, New Jersey, in 2021.
Catherine is an active member of the American Bar Association, New York Bar Association, New York City Bar
Association, New Jersey Bar Association, and the National Association of Women Lawyers. In 2020, Catherine was
appointed to the New York State Bar Association’s President’s Leadership Development Committee. In 2021,
Catherine was appointed to the New Jersey State Bar Association’s Class Actions, International Law and
Organizations, and Special Civil Part Committees. In 2022, Catherine was appointed as Co-chair of the American Bar
Association's International Law Section — Women's Interest Network. As part of her pro bono legal work, she serves
on two Boards of international NGOs serving refugees and internally displaced persons in the Middle East and Africa
and rescuing exploited and trafficked women and girls. Closer to home, Catherine serves as an advisor to minority
business owners in the New York City area on legal issues impacting their businesses.
Catherine clerked for the Honorable Mary M. McVeigh in the Superior Court of New Jersey where she was trained as
a court-certified mediator. While in law school she interned at the Center for Social Justice’s Immigration Law Clinic
at Seton Hall University School of Law. Catherine is a Graduate of the American Inns of Court.
EDUCATION: Indiana University, B.A., Political Science, 1988; Seton Hall University School of Law, J.D., 1998.
ADMISSIONS: New York; New Jersey.




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Staff Attorney
Christopher M. McKniff [Former Staff Attorney] worked on the In re Frontier Communications Corporation
Stockholders Litigation.
Prior to joining the firm, Chris was a contract attorney and worked on litigation involving residential mortgage backed
securities. Previously, Chris worked in the real estate industry with the Hudson Gateway Association of Realtors as
Assistant General Counsel.

Education: University of Southern California, B.A. cum laude, 2005. New York Law School, J.D. 2012.


Bar Admission: New York.




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